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7                           IN THE UNITED STATES DISTRICT COURT

8                               FOR THE DISTRICT OF ARIZONA

9    Mi Familia Vota, et al.,                   Case No. 2:22-cv-00509-SRB (Lead)

10                      Plaintiffs,             NON-UNITED STATES
                                                PLAINTIFFS’ RESPONSE TO
11   v.                                         SPEAKER OF THE HOUSE BEN
                                                TOMA AND SENATE PRESIDENT
12   Adrian Fontes, in his official capacity    WARREN PETERSEN’S MOTION
     as Secretary of the State of Arizona, et   TO INTERVENE AS DEFENDANTS
13   al.,

14                      Defendants.

15   ________________________________

16                                              No. CV-22-00519-PHX-SRB
     AND CONSOLIDATED CASES.                    No. CV-22-01003-PHX-SRB
17                                              No. CV-22-01124-PHX-SRB
                                                No. CV-22-01369-PHX-SRB
18                                              No. CV-22-01381-PHX-SRB
                                                No. CV-22-01602-PHX-SRB
19                                              No. CV-22-01901-PHX-SRB

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1           Consolidated Plaintiffs, not including the United States (collectively, “non-U.S.

2    Plaintiffs”), by and through counsel, file this response to the Motion to Intervene as

3    Defendants, ECF No. 346 (“Motion”), by Representative Ben Toma, Speaker of the

4    Arizona House of Representatives, and Senator Warren Petersen, President of the Arizona

5    Senate (“Movants”). Non-U.S. Plaintiffs do not oppose allowing Movants to intervene

6    permissively under Rule 24(b), provided Movants comply—as agreed in their Motion—

7    with all existing deadlines set forth in this Court’s March 24, 2023 Case Management

8    Order, ECF No. 388, and do not otherwise cause delay or prejudice the existing parties.

9           While non-U.S. Plaintiffs do not oppose permissive intervention, they note for the

10   record that Movants have not met their burden to intervene as of right for at least two

11   reasons: (1) Movants’ interests are indistinguishable from the State’s interests and the State

12   is already a party to this case; and (2) because they have no interests independent from the

13   State, Movants’ interests are adequately represented by the existing parties. 1

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              Non-U.S. Plaintiffs also note that Movants waited more than a year after the first
     of the consolidated cases was originally filed before seeking intervention, by which time
18   this Court had already resolved the State’s motion to dismiss and all existing Defendants
     had filed their answers. This is important because timeliness is an essential element of
19   intervention under Rule 24. See United States v. Carpenter, 298 F.3d 1122, 1125 (9th Cir.
     2002); County of Orange v. Air Cal., 799 F.2d 535, 537 (9th Cir. 1986). Moreover,
20   although Movants claim that they will abide by the Court’s prescribed deadlines, they make
     no claim that they will respond in a timely manner to discovery requests, or that they will
21   abide by discovery agreements already entered into by the parties. Intervention should be
     conditioned on such agreement and timely responses.


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             Case 2:22-cv-00509-SRB Document 354 Filed 04/18/23 Page 3 of 9




1                                           CONCLUSION

2          Non-US Plaintiffs do not oppose allowing movants to permissively intervene under

3    Rule 24(b), consistent with the arguments and conditions herein.

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5          Date: April 18, 2023               Respectfully submitted,

6

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1                                    CERTIFICATE OF SERVICE

2           I hereby certify that on this 18th day of April, 2023, I caused the foregoing document

3    to be electronically transmitted to all counsel of record via the Court’s CM/ECF electronic

4    filing system.

5                                                             /s/ Monse Vejar

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